                                Case 19-26490            Doc 31       Filed 01/23/20           Page 1 of 3
                                               United States Bankruptcy Court
                                                   District of Maryland
In re:                                                                                                     Case No. 19-26490-DER
Jay D. Miller                                                                                              Chapter 7
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0416-1                  User: kfraser                      Page 1 of 2                          Date Rcvd: Jan 21, 2020
                                      Form ID: pdfall                    Total Noticed: 26


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Jan 23, 2020.
db              Jay D. Miller,    808 Gleneagles Court, Suite 1,    Towson, MD 21286-9998
cr             +BANK OF AMERICA, N.A.,    BWW Law Group, LLC,    6003 Executive Blvd. Suite 101,
                 Rockville, MD 20852-3813
31365021        American Express,    PO Box 1270,    Newark, NJ 07101-1270
31365020       +American Express,    PO Box 297879,    Fort Lauderdale, FL 33329-7879
31331900       +Bank of America,    4909 Savarese Circle,    Tampa, FL 33634-2413
31331901       +Best Buy/cbna,    Po Box 6497,    Sioux Falls, SD 57117-6497
31331904       +Comptroller of Treasury,     Compliance Div., Rm 409,   301 W. Preston Street,
                 Baltimore, MD 21201-2305
31331924       +Comptroller of the Treasury,     Compliance Division, Room 409,   301 W. Preston Street,
                 Baltimore, MD 21201-2305
31331906       +Exxnmobil/cbna,    Po Box 6497,    Sioux Falls, SD 57117-6497
31331922       +Harford County, Maryland,     Department of Law,   220 South Main Street,
                 Bel Air, MD 21014-3820
31331910       +Jpmcb Card,    Po Box 15298,    Wilmington, DE 19850-5298
31331912       +Nhhelc/gsm&r,    Po Box 3420,    Concord, NH 03302-3420
31365019       +Poplar Jewelry and Pawn,     1735 E. Joppa road,   Parkville, MD 21234-3640
31331914       +Thd/cbna,    Po Box 6497,    Sioux Falls, SD 57117-6497
31331915       +The law Offices of Peter G. Angelos, PPC,     100 North Charles St.,   20th fl.,
                 Baltimore, MD 21201-3896
31331916        Us Bank,    Cb Disputes,   Saint Louis, MO 63166

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
               +E-mail/Text: ustpregion04.ba.ecf@usdoj.gov Jan 21 2020 21:06:48
                 Office of The United States Trustee,    101 West Lombard Street,    Suite 2625,
                 Baltimore, MD 21201-2668
31331899       +E-mail/Text: ally@ebn.phinsolutions.com Jan 21 2020 21:05:54      Ally Financial,
                 PO Box 380901,   Bloomington,, MN 55438-0901
31331898       +E-mail/Text: ally@ebn.phinsolutions.com Jan 21 2020 21:05:54      Ally Financial,
                 200 Renaissance Circle,   Detroit, MI 48243-1300
31331902       +E-mail/PDF: AIS.cocard.ebn@americaninfosource.com Jan 21 2020 21:02:30
                 Capital One Bank Usa N,   Po Box 30281,    Salt Lake City, UT 84130-0281
31331903       +E-mail/Text: bankruptcy@fult.com Jan 21 2020 21:08:12      Columbia Bank,
                 9151 Baltimore National,   Ellicott City, MD 21042-3922
31331905       +E-mail/Text: mrdiscen@discover.com Jan 21 2020 21:06:11      Discover Fin Svcs Llc,     Pob 15316,
                 Wilmington, DE 19850-5316
31331907       +E-mail/Text: Hcabankruptcy-courtnotices@hcamerica.com Jan 21 2020 21:07:22
                 Hyundai Capital Americ,   10550 Talbert Av,    Fountain Valley, CA 92708-6032
31331909        E-mail/Text: cio.bncmail@irs.gov Jan 21 2020 21:06:25      Internal Revenue Service,
                 Centralized Insolvency Operation,    PO Box 21126,   Philadelphia, PA 19114-0326
31331913       +E-mail/Text: bnc@nordstrom.com Jan 21 2020 21:06:22      Nordstm/td,    13531 E. Caley Ave,
                 Englewood, CO 80111-6505
31331923       +E-mail/Text: UIBankruptcyNotices.DLLR@maryland.gov Jan 21 2020 21:07:37
                 State of Maryland DLLR,   Division of Unemployment Insurance,    1100 N. Eutaw Street, Room 401,
                 Baltimore, MD 21201-2225
                                                                                              TOTAL: 10

              ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
31331908           Hyundai Financial,   INVALID ADDRESS PROVIDED
31331911           Nationwide Infinity
                                                                                                                    TOTALS: 2, * 0, ## 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Jan 23, 2020                                            Signature: /s/Joseph Speetjens
                         Case 19-26490         Doc 31   Filed 01/23/20    Page 2 of 3



District/off: 0416-1         User: kfraser               Page 2 of 2                   Date Rcvd: Jan 21, 2020
                             Form ID: pdfall             Total Noticed: 26

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                             CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on January 21, 2020 at the address(es) listed below:
              Luke Anthony McQueen    bankruptcy@bww-law.com, luke.mcqueen@bww-law.com
              Marc H. Baer   mbaer@waldmangrossfeld.com, md09@ecfcbis.com
              Robert Grossbart     robert@grossbartlaw.com, debra@grossbartlaw.com
                                                                                            TOTAL: 3
Entered: January 21st, 2020
                              Case 19-26490     Doc 31    Filed 01/23/20       Page 3 of 3
Signed: January 21st, 2020

SO ORDERED




                               IN THE UNITED STATES BANKRUPTCY COURT
                                    FOR THE DISTRICT OF MARYLAND
                                              at Baltimore
                                    In re:   Case No.: 19−26490 − DER      Chapter: 7

Jay D. Miller
Debtor

                              ORDER GRANTING DEBTOR'S CONSENT MOTION
                                       TO EXTEND DEADLINES


Upon consideration of the Consent Motion to Extend Deadlines filed by the Debtor pursuant to Local Bankruptcy
Rule 5071−1(d)(3)(B), good cause appearing therein, it is, therefore, by the United States Bankruptcy Court for the
District of Maryland,

ORDERED, that the deadline for all parties−in−interest to file complaints objecting to the discharge of the Debtor
under 11 U.S.C. § 727 is hereby extended to and including April 03, 2020; and it is further,

ORDERED, that the deadline for all parties−in−interest to file motions to dismiss the Debtor's case under 11 U.S.C. §
707(b)(3) is hereby extended to and including April 03, 2020; and it is further,
ORDERED, that the deadline for the United States Trustee to file a Statement of Presumed Abuse under 11 U.S.C. §
704(b) is hereby extended to and including 10 days after the rescheduled meeting of creditors.


cc:    Debtor
       Attorney for Debtor − Robert Grossbart
       Case Trustee − Marc H. Baer
       U.S. Trustee
       All Creditors

                                                   End of Order
22x07 (rev. 02/06/2017) − kfraser
